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                                   6                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  10   AMERICAN FEDERATION OF
                                       GOVERNMENT EMPLOYEES, AFL-CIO,
                                  11   et al.,                                              No. C 25-01780 WHA

                                  12                  Plaintiffs,
Northern District of California
 United States District Court




                                  13           v.                                           ORDER ON PLAINTIFF’S
                                                                                            RESPONSE TO LETTER FROM
                                  14   UNITED STATES OFFICE OF                              AUSA KELSEY HELLAND
                                       PERSONNEL MANAGEMENT, et al.,
                                  15
                                                      Defendants.
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                                  18        If IRS Chief Human Capital Officer Traci DiMartini appears at the Thursday evidentiary

                                  19   hearing, then the Court will try to hear her live testimony and give both sides opportunity to

                                  20   examine her. However, the Judge is not in a position to immunize her from any adverse

                                  21   employment action by the IRS.

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                                  23        IT IS SO ORDERED.

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                                  25   Dated: March 11, 2025.

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                                                                                              WILLIAM ALSUP
                                  28                                                          UNITED STATES DISTRICT JUDGE
